 

Case 1:20-cv-02405-EGS Document 90-3 Filed 11/05/20 Page 1 of 8

 

PROCESSING OPERATIONS
| HEADQUARTERS
| UNITED STATES POSTAL SERVICE

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___F rocessing Operations Management Order
Operational Clean Sweep Search Checklist: Political and Election Mail

Purpose; To provide an operational checklist to be used in performing a mail search, when notified by

the Business Service Network (BSN), of possibly missing or delayed P/E mail. When Completed-return to

the Area In-Plant Support PMOD Coordinator and District BSN.

District: _MID Atlantic

Date: _ 11/04/20 Name: ___Hopkins/ Cherian

 

Title: MIPS Phone#: __ (704) 398-5541

 

| Comments:
| Checkbox | Section/Operation:
| When checked | | Specifics: include copies of PMOD label and/or container
| | Defines the work area to be searched. | placard. Names of individuals contacted

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

! | incoming dock | All Clear
a | MEU & BMEU Plant Staging | All Clear
| Opening Unit |
| i Opening Units | All Clear
| | AQ / Station dispatch area | All Clear
| | Outbound dock | Clear, No Political Mail
| | Outgoing Dispatch Area | Clear, No Political Mail in Outgoing Dispatch Area
| x Traflers in the yard Yard Check Done
| fal MTE Plant Staging Area N/A
[~ CI "MITE Trailers N/A
| [] | Site MTESC NVA
| CI  PARS Staging and Operations WA
Rewrap Operations Clear, No Damaged Political Mail
C] CFS (if applicable) MA
[] BRMM/Postage Due N/A |
Auditor Hopkins / Cherian__ Position _OSS_____ Date _11-04-20__ 0p
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Boat Feo

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UNITED STATES POSTAL SERVICE

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Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District
Political and Election Mail Operations Coordinator information for investigating possible missing or delayed
Political and/or Election Mail. District: Mid - Atlaskic Name: Lc / On Chink.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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when checked Defines the work area to be searched Specifics: include copies of PMOD label and for
‘| container placard. Names of individuals contacted

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[| BMEU & BMEU Plant Staging C fo an
[| Opening units

Clean
[| AO / Station dispatch area
C/ COA

LE] Outbound dock C / ue
Ga Outgoing Dispatch Area ce ZOnN
aM Trailers in yard (Yard Check) Va oe c hock cho pee!
[| MTE Plant Staging Area nw ii A
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(Sy Site MTESC r/ j ft
[| PARS Staging and Operations n/ , ft
[| Rewrap Operations Clear.
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[| BRM/Postage Due A/ y A

 

 

 

 

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Date: _|!- 2- aADOad Name: Maceret Red
Title: [NPS Phone #:__ (8) 397% -SS4|
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when checked Defines the work area to be searched. ae GIS CARES OT PMOB eee
container placard. Names of individuals contacted
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eee Wh 1
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== a sane N\o Pol rhea\ Mai} fred vA BMEL Grea,
Opening Units (\o PalKeal Mail staged at FSS.

— de AO /'Station dispatch area Po Politica in ROY Stckon dispatch area.
o Outbound dock Plo Polieal wel ond on Dubbournd dock,
fale Outgoing Dispatch Area lis Palrtcah wail in Dutyorng Bs Pete
ae Trailers in the yard (Yard Check) (\ Pel “peak tts] Grad. Tables. tate

Acad .

co MTE Plant Staging Area : N / A

MTE Trailers .
LI] N/A
C4 Site MTESC N /h
C PARS Staging and Operations \V /; A

Rewrap Operations Warners FeAwWerap PolHcal NEN \S cS Patchs.
De} do He CT PS DC ih Cond,
7 CFS (if applicable) N / f
a BRM/Postage Due i ih

__) Auditor =e De Pik Postion OSS Date__|\~ - Qvdg

 

 

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Political and/or Election Mail. District: /“% -A_ AL Law p C Name: °
Mars acef [pd
Title: fw] 7 P a Phone #: TOUR-SEF Ss yf
Comments:

Check box _| Section/Operation:

Specifics: include copies of PMOD label and for
container placard. Names of individuals contacted

when checked Defines the work area to be searched.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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feb AO / Station dispatch area
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LA Outbound dock /
LA Outgoing Dispatch Area
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oe Trailers in yard (Yard Check)
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CFS (if applicable)
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Operational Clean Sweep Search Checklist: Political and Election Mail

Business Service Network (BSN), of possibly missing or delayed P/E Mail. When completed — return to the Area
In-Plant Support PMOD Coordinator and District BSN.

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Date: A L. I fe 020 Name: Maroaret SOX
Tite: JU an Age | LOY - SPP -SEYS3

— Phone #:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check box Section/Operation: comments:
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container placard. Names of individuals contacted

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Opening Units TEVESA RA AT ae

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ila AO / Station dispatch area Bae arses we er er pn re

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Outbound dock : on

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Trailers in the yard (Yard Check) / - 7

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BRM/Postage Due

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District: M J a ~G th GL Lia

 

 

Date:_/ of, a of. K<OZO Name: AA acd atet Fo x
Title: Manager Phone #: — OM IRE -S5IYG

 

 

 

| Check box Section/Operation: Comments:

when checked Specifics: include copies of PMOD label and /or

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eines the work area to be searched container placard. Names of individuals contacted

 

 

 

 

 

 

 

 

 

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BMEU & BMEU Plant Staging htne /7 Binet lanier ape JF 1 aVer
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Opening Units ALES had 5 pillets oF Perltecal
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hid Comrminivfe briondg + first lag
Outbound dock
Moe fohdtrdal Mlact § taged as of f0!0\par
Outgoing Dispatch Area

 

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Trailers in the yard (Yard Check)

 

 

 

 

 

 

 

 

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District: (Ni A- Patio

 

 

 

 

 

Date:__ |b - 24-24de Name: Neraare+ Ford
Title: Mins Phone#:___ (294) 358-5 U)
Comments:

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eines the work area to be searched container placard, Names of individuals contacted

 

 

 

 

 

 

Incoming dock Drape Were. recorded in-tre Pottical
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Opening Units Yio Polhecl mail ia FSS Stadieg ,

AO / Station dispatch area is Poldical moi | Staged in RO/ Shehion

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Outbound dock Ue PelHeal mail
Outgoing Dispatch Area No Pali cat /Llaction mail in tee

 

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Trailers in the yard (Yard Check) I\o reports of Hrailers jae ard Ui
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Date: \B- DE - Dada, Name: Merscrel Grek
Titte:___\Y\PS Phone #:__( ar!) 299 - 61|

 

Check box Section/Operation: Comments:

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efines the work area to be tesa container placard. Names of individuals contacted

 

 

 

 

Incoming dock [Props Were fecorded iw iro lag. Pat K eal
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BMEU & BMEU Plant Staging Teed Sing are ak pdle 3G rack Wwpallebe

Opening Units Ne Political Tal Stegock a ENS.

AO / Station dispatch area Al codeiners wile Paeal mail| are Kebebedk

 

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